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              IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                        CRIMINAL 12-0192CCC
1) JULIO L. DE JESUS-GOMEZ,
a/k/a “Julio Torta,” “Julito,” “July”
2) TANIA DE JESUS-GOMEZ
3) JULIA GOMEZ-CALCAÑO
4) JOSE SANTIAGO-GOMEZ,
a/k/a “Joseito,” “Joselito,” “El Don”
5) EDWIN MONGE-PEÑA,
a/k/a “Viejo”
6) EMMANUEL MOYANO-
RODRIGUEZ, a/k/a “Memo”
7) ALEX GOMEZ-RAMOS, a/k/a “Alex
Changuia”
8) LUIS A. SUAREZ-RIVERA,
a/k/a “Luis El Gordo,” “Gordo Chiquita”
9) RUBEN MENDOZA-BONANO,
a/k/a “Gugu,” “Blanco,” “El Bori”
10) TAHIRI MONTALVO
11) ALBERTO MARTINEZ-
RODRIGUEZ, a/k/a “Cano”
12) CARLOS MARTINEZ-
RODRIGUEZ, a/k/a “Carly,” “Carlito
El Buey/Matador”
13) JAVIER MORALES-ANDREU,
a/k/a “Gadget,” “Galle,” “Pedro del
Valle-Andino,” “El Bori”
14) ROBERTO MORALES-RIVERA,
a/k/a “Robert Abuela”
15) LUIS DANIEL RIVERA-PEREZ,
a/k/a “Danny”
16) FERNANDO FUERTES-
ROBINSON, a/k/a “Broco”
17) LUIS ROSS-DE LA CRUZ,
a/k/a “Manco”
18) JOSE AVILA-JIMENEZ,
a/k/a “Cheni”
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19) JOSE M. PEREZ-LOPEZ,
a/k/a “Cleto”
20) HECTOR DIAZ-MADERA,
a/k/a “Flaquin”
21) PABLO ORTIZ-CALZADA,
a/k/a “Pablito,” “Changuito,” “Pablo
El Prieto”
22) LUIS GOMEZ-RAMOS, a/k/a “Luis
Moco,” “Ely”
23) OMAR CAMACHO-ALMESTICA
24) GILBERTO TRINIDAD-ORTIZ,
a/k/a “Gilbert”
25) LUIS RODRIGUEZ-GUZMAN,
a/k/a “Chino”
26) CARLOS A. MATTA-PEÑA
27) WALESKA MATTA-CUEVAS,
a/k/a “Wally,” “Jenifer’s Mom”
28) JENIFER LUGO-MATTA
29) MIGUEL VELAZQUEZ-
RODRIGUEZ, a/k/a “Migue”
30) BENITO SANTIAGO-DE JESUS
31) ARMANDO GOMEZ-ORTIZ,
a/k/a “Armandito”
32) ELIZABETH MEJILL-NEGRON,
a/k/a “Liza”
33) ELIZABETH SANTIAGO-DE
JESUS
34) SUBRIEL MATHEW-MATIAS
35) ALEX HENRY MATHEW,
a/k/a “Memo”
36) ROBERTO C. VEGA-RIVERA,
a/k/a “Bobby”
37) ANGEL MARTINEZ-RODRIGUEZ
38) ANDY GARCIA-MATHEW
39) OMAR QUIÑONEZ-GONZALEZ,
a/k/a “Castor,” “Velador,” “Juan Omar”
40) STEVEN BURGOS-CASTRO
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41) DOMINGO PEÑA-RIVERA,
a/k/a “Bebe”
42) ABNER BELARDO-COLON
43) WALTER COGHEN-TORRES,
a/k/a “Wacuco”
44) XAVIER FIGUEROA-ALVIRA,
a/k/a “Chavo”
45) RUBENCIO JAIME-COX
46) JUAN L. FUENTES-RIVERA,
a/k/a “Juaco,” “Hermano”
47) ROSELYN SANTIAGO-DE JESUS
48) ANA C. CARRION-CRUZ,
a/k/a “India”
49) YAMIL RIOS-CARRILLO
50) JORGE RIVERA
51) EMILIO MONGE-TORRES,
a/k/a “Millo”
52) JOHN L. RIVERA-CRUZ
53) JOSE PORFIL, a/k/a “Cheito/Porfil”
Defendants



                                     ORDER

     Having considered the Report and Recommendation filed on July 14,
2014 (docket entry 1395) on a Rule 11 proceeding of defendant [4] José
Santiago-Gómez before U.S. Magistrate-Judge Camille L. Vélez-Rivé on
July 1, 2014, to which no objection has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights
and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
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      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since July 1, 2014. The sentencing hearing
is set for October 1, 2014 at 4:40 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on July 31, 2014.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
